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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA                                                     PLAINTIFF

vs.                                NO. 4:07CR00127-004 SWW

ANDREA LYNN KIRTLEY                                                          DEFENDANT
                                             ORDER

       The above entitled cause came on for hearing February 5, 2015 on government’s superseding

motion to revoke the supervised release previously granted this defendant in the United States

District Court for the Eastern District of Arkansas. Based upon the admissions of defendant and

statements of counsel, the Court found that defendant has violated the conditions of her supervised

release without just cause.

       IT IS THEREFORE ORDERED AND ADJUDGED that the government’s superseding

motion to revoke [doc #711] is granted, and the supervised release previously granted this

defendant is hereby revoked.      Defendant shall serve a term of FOURTEEN (14) MONTHS

imprisonment in the custody of the Bureau of Prisons. The Court recommends that defendant be

incarcerated in Alderson FPC, West Virginia and participate in substance abuse treatment or the

Residential Drug Abuse Program (RDAP). If possible, the Court recommends that she participate

as a dog trainer because of her past successful participation in this program.

       There will be NO supervised release to follow.

       The defendant is remanded to custody of the U. S. Marshal Service.

       IT IS SO ORDERED this 5th day of February 2015.

                                                     /s/Susan Webber Wright

                                                     United States District Judge
